Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 1 of 417 PageID #: 1842




                           EXHIBIT P
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 2 of 417 PageID #: 1843
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 3 of 417 PageID #: 1844
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 4 of 417 PageID #: 1845
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 5 of 417 PageID #: 1846
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 6 of 417 PageID #: 1847
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 7 of 417 PageID #: 1848
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 8 of 417 PageID #: 1849
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 9 of 417 PageID #: 1850
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 10 of 417 PageID #: 1851
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 11 of 417 PageID #: 1852
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 12 of 417 PageID #: 1853
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 13 of 417 PageID #: 1854
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 14 of 417 PageID #: 1855
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 15 of 417 PageID #: 1856
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 16 of 417 PageID #: 1857
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 17 of 417 PageID #: 1858
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 18 of 417 PageID #: 1859
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 19 of 417 PageID #: 1860
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 20 of 417 PageID #: 1861
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 21 of 417 PageID #: 1862
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 22 of 417 PageID #: 1863
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 23 of 417 PageID #: 1864
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 24 of 417 PageID #: 1865
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 25 of 417 PageID #: 1866
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 26 of 417 PageID #: 1867
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 27 of 417 PageID #: 1868
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 28 of 417 PageID #: 1869
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 29 of 417 PageID #: 1870
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 30 of 417 PageID #: 1871
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 31 of 417 PageID #: 1872
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 32 of 417 PageID #: 1873
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 33 of 417 PageID #: 1874
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 34 of 417 PageID #: 1875
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 35 of 417 PageID #: 1876
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 36 of 417 PageID #: 1877
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 37 of 417 PageID #: 1878
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 38 of 417 PageID #: 1879
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 39 of 417 PageID #: 1880
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 40 of 417 PageID #: 1881
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 41 of 417 PageID #: 1882
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 42 of 417 PageID #: 1883
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 43 of 417 PageID #: 1884
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 44 of 417 PageID #: 1885
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 45 of 417 PageID #: 1886
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 46 of 417 PageID #: 1887
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 47 of 417 PageID #: 1888
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 48 of 417 PageID #: 1889
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 49 of 417 PageID #: 1890
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 50 of 417 PageID #: 1891
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 51 of 417 PageID #: 1892
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 52 of 417 PageID #: 1893
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 53 of 417 PageID #: 1894
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 54 of 417 PageID #: 1895
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 55 of 417 PageID #: 1896
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 56 of 417 PageID #: 1897
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 57 of 417 PageID #: 1898
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 58 of 417 PageID #: 1899
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 59 of 417 PageID #: 1900
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 60 of 417 PageID #: 1901
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 61 of 417 PageID #: 1902
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 62 of 417 PageID #: 1903
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 63 of 417 PageID #: 1904
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 64 of 417 PageID #: 1905
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 65 of 417 PageID #: 1906
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 66 of 417 PageID #: 1907
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 67 of 417 PageID #: 1908
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 68 of 417 PageID #: 1909
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 69 of 417 PageID #: 1910
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 70 of 417 PageID #: 1911
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 71 of 417 PageID #: 1912
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 72 of 417 PageID #: 1913
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 73 of 417 PageID #: 1914
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 74 of 417 PageID #: 1915
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 75 of 417 PageID #: 1916
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 76 of 417 PageID #: 1917
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 77 of 417 PageID #: 1918
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 78 of 417 PageID #: 1919
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 79 of 417 PageID #: 1920
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 80 of 417 PageID #: 1921
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 81 of 417 PageID #: 1922
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 82 of 417 PageID #: 1923
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 83 of 417 PageID #: 1924
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 84 of 417 PageID #: 1925
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 85 of 417 PageID #: 1926
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 86 of 417 PageID #: 1927
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 87 of 417 PageID #: 1928
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 88 of 417 PageID #: 1929
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 89 of 417 PageID #: 1930
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 90 of 417 PageID #: 1931
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 91 of 417 PageID #: 1932
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 92 of 417 PageID #: 1933
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 93 of 417 PageID #: 1934
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 94 of 417 PageID #: 1935
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 95 of 417 PageID #: 1936
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 96 of 417 PageID #: 1937
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 97 of 417 PageID #: 1938
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 98 of 417 PageID #: 1939
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 99 of 417 PageID #: 1940
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 100 of 417 PageID #: 1941
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 101 of 417 PageID #: 1942
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 102 of 417 PageID #: 1943
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 103 of 417 PageID #: 1944
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 104 of 417 PageID #: 1945
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 105 of 417 PageID #: 1946
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 106 of 417 PageID #: 1947
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 107 of 417 PageID #: 1948
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 108 of 417 PageID #: 1949
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 109 of 417 PageID #: 1950
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 110 of 417 PageID #: 1951
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 111 of 417 PageID #: 1952
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 112 of 417 PageID #: 1953
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 113 of 417 PageID #: 1954
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 114 of 417 PageID #: 1955
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 115 of 417 PageID #: 1956
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 116 of 417 PageID #: 1957
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 117 of 417 PageID #: 1958
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 118 of 417 PageID #: 1959
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 119 of 417 PageID #: 1960
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 120 of 417 PageID #: 1961
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 121 of 417 PageID #: 1962
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 122 of 417 PageID #: 1963
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 123 of 417 PageID #: 1964
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 124 of 417 PageID #: 1965
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 125 of 417 PageID #: 1966
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 126 of 417 PageID #: 1967
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 127 of 417 PageID #: 1968
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 128 of 417 PageID #: 1969
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 129 of 417 PageID #: 1970
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 130 of 417 PageID #: 1971
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 131 of 417 PageID #: 1972
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 132 of 417 PageID #: 1973
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 133 of 417 PageID #: 1974
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 134 of 417 PageID #: 1975
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 135 of 417 PageID #: 1976
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 136 of 417 PageID #: 1977
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 137 of 417 PageID #: 1978
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 138 of 417 PageID #: 1979
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 139 of 417 PageID #: 1980
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 140 of 417 PageID #: 1981
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 141 of 417 PageID #: 1982
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 142 of 417 PageID #: 1983
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 143 of 417 PageID #: 1984
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 144 of 417 PageID #: 1985
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 145 of 417 PageID #: 1986
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 146 of 417 PageID #: 1987
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 147 of 417 PageID #: 1988
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 148 of 417 PageID #: 1989
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 149 of 417 PageID #: 1990
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 150 of 417 PageID #: 1991
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 151 of 417 PageID #: 1992
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 152 of 417 PageID #: 1993
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 153 of 417 PageID #: 1994
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 154 of 417 PageID #: 1995
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 155 of 417 PageID #: 1996
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 156 of 417 PageID #: 1997
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 157 of 417 PageID #: 1998
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 158 of 417 PageID #: 1999
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 159 of 417 PageID #: 2000
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 160 of 417 PageID #: 2001
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 161 of 417 PageID #: 2002
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 162 of 417 PageID #: 2003
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 163 of 417 PageID #: 2004
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 164 of 417 PageID #: 2005
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 165 of 417 PageID #: 2006
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 166 of 417 PageID #: 2007
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 167 of 417 PageID #: 2008
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 168 of 417 PageID #: 2009
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 169 of 417 PageID #: 2010
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 170 of 417 PageID #: 2011
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 171 of 417 PageID #: 2012
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 172 of 417 PageID #: 2013
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 173 of 417 PageID #: 2014
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 174 of 417 PageID #: 2015
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 175 of 417 PageID #: 2016
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 176 of 417 PageID #: 2017
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 177 of 417 PageID #: 2018
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 178 of 417 PageID #: 2019
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 179 of 417 PageID #: 2020
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 180 of 417 PageID #: 2021
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 181 of 417 PageID #: 2022
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 182 of 417 PageID #: 2023
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 183 of 417 PageID #: 2024
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 184 of 417 PageID #: 2025
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 185 of 417 PageID #: 2026
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 186 of 417 PageID #: 2027
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 187 of 417 PageID #: 2028
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 188 of 417 PageID #: 2029
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 189 of 417 PageID #: 2030
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 190 of 417 PageID #: 2031
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 191 of 417 PageID #: 2032
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 192 of 417 PageID #: 2033
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 193 of 417 PageID #: 2034
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 194 of 417 PageID #: 2035
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 195 of 417 PageID #: 2036
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 196 of 417 PageID #: 2037
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 197 of 417 PageID #: 2038
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 198 of 417 PageID #: 2039
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 199 of 417 PageID #: 2040
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 200 of 417 PageID #: 2041
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 201 of 417 PageID #: 2042
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 202 of 417 PageID #: 2043
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 203 of 417 PageID #: 2044
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 204 of 417 PageID #: 2045
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 205 of 417 PageID #: 2046
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 206 of 417 PageID #: 2047
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 207 of 417 PageID #: 2048
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 208 of 417 PageID #: 2049
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 209 of 417 PageID #: 2050
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 210 of 417 PageID #: 2051
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 211 of 417 PageID #: 2052
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 212 of 417 PageID #: 2053
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 213 of 417 PageID #: 2054
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 214 of 417 PageID #: 2055
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 215 of 417 PageID #: 2056
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 216 of 417 PageID #: 2057
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 217 of 417 PageID #: 2058
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 218 of 417 PageID #: 2059
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 219 of 417 PageID #: 2060
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 220 of 417 PageID #: 2061
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 221 of 417 PageID #: 2062
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 222 of 417 PageID #: 2063
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 223 of 417 PageID #: 2064
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 224 of 417 PageID #: 2065
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 225 of 417 PageID #: 2066
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 226 of 417 PageID #: 2067
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 227 of 417 PageID #: 2068
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 228 of 417 PageID #: 2069
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 229 of 417 PageID #: 2070
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 230 of 417 PageID #: 2071
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 231 of 417 PageID #: 2072
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 232 of 417 PageID #: 2073
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 233 of 417 PageID #: 2074
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 234 of 417 PageID #: 2075
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 235 of 417 PageID #: 2076
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 236 of 417 PageID #: 2077
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 237 of 417 PageID #: 2078
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 238 of 417 PageID #: 2079
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 239 of 417 PageID #: 2080
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 240 of 417 PageID #: 2081
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 241 of 417 PageID #: 2082
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 242 of 417 PageID #: 2083
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 243 of 417 PageID #: 2084
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 244 of 417 PageID #: 2085
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 245 of 417 PageID #: 2086
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 246 of 417 PageID #: 2087
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 247 of 417 PageID #: 2088
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 248 of 417 PageID #: 2089
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 249 of 417 PageID #: 2090
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 250 of 417 PageID #: 2091
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 251 of 417 PageID #: 2092
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 252 of 417 PageID #: 2093
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 253 of 417 PageID #: 2094
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 254 of 417 PageID #: 2095
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 255 of 417 PageID #: 2096
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 256 of 417 PageID #: 2097
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 257 of 417 PageID #: 2098
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 258 of 417 PageID #: 2099
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 259 of 417 PageID #: 2100
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 260 of 417 PageID #: 2101
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 261 of 417 PageID #: 2102
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 262 of 417 PageID #: 2103
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 263 of 417 PageID #: 2104
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 264 of 417 PageID #: 2105
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 265 of 417 PageID #: 2106
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 266 of 417 PageID #: 2107
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 267 of 417 PageID #: 2108
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 268 of 417 PageID #: 2109
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 269 of 417 PageID #: 2110
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 270 of 417 PageID #: 2111
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 271 of 417 PageID #: 2112
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 272 of 417 PageID #: 2113
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 273 of 417 PageID #: 2114
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 274 of 417 PageID #: 2115
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 275 of 417 PageID #: 2116
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 276 of 417 PageID #: 2117
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 277 of 417 PageID #: 2118
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 278 of 417 PageID #: 2119
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 279 of 417 PageID #: 2120
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 280 of 417 PageID #: 2121
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 281 of 417 PageID #: 2122
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 282 of 417 PageID #: 2123
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 283 of 417 PageID #: 2124
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 284 of 417 PageID #: 2125
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 285 of 417 PageID #: 2126
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 286 of 417 PageID #: 2127
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 287 of 417 PageID #: 2128
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 288 of 417 PageID #: 2129
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 289 of 417 PageID #: 2130
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 290 of 417 PageID #: 2131
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 291 of 417 PageID #: 2132
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 292 of 417 PageID #: 2133
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 293 of 417 PageID #: 2134
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 294 of 417 PageID #: 2135
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 295 of 417 PageID #: 2136
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 296 of 417 PageID #: 2137
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 297 of 417 PageID #: 2138
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 298 of 417 PageID #: 2139
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 299 of 417 PageID #: 2140
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 300 of 417 PageID #: 2141
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 301 of 417 PageID #: 2142
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 302 of 417 PageID #: 2143
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 303 of 417 PageID #: 2144
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 304 of 417 PageID #: 2145
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 305 of 417 PageID #: 2146
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 306 of 417 PageID #: 2147
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 307 of 417 PageID #: 2148
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 308 of 417 PageID #: 2149
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 309 of 417 PageID #: 2150
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 310 of 417 PageID #: 2151
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 311 of 417 PageID #: 2152
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 312 of 417 PageID #: 2153
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 313 of 417 PageID #: 2154
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 314 of 417 PageID #: 2155
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 315 of 417 PageID #: 2156
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 316 of 417 PageID #: 2157
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 317 of 417 PageID #: 2158
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 318 of 417 PageID #: 2159
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 319 of 417 PageID #: 2160
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 320 of 417 PageID #: 2161
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 321 of 417 PageID #: 2162
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 322 of 417 PageID #: 2163
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 323 of 417 PageID #: 2164
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 324 of 417 PageID #: 2165
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 325 of 417 PageID #: 2166
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 326 of 417 PageID #: 2167
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 327 of 417 PageID #: 2168
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 328 of 417 PageID #: 2169
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 329 of 417 PageID #: 2170
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 330 of 417 PageID #: 2171
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 331 of 417 PageID #: 2172
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 332 of 417 PageID #: 2173
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 333 of 417 PageID #: 2174
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 334 of 417 PageID #: 2175
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 335 of 417 PageID #: 2176
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 336 of 417 PageID #: 2177
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 337 of 417 PageID #: 2178
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 338 of 417 PageID #: 2179
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 339 of 417 PageID #: 2180
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 340 of 417 PageID #: 2181
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 341 of 417 PageID #: 2182
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 342 of 417 PageID #: 2183
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 343 of 417 PageID #: 2184
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 344 of 417 PageID #: 2185
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 345 of 417 PageID #: 2186
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 346 of 417 PageID #: 2187
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 347 of 417 PageID #: 2188
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 348 of 417 PageID #: 2189
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 349 of 417 PageID #: 2190
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 350 of 417 PageID #: 2191
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 351 of 417 PageID #: 2192
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 352 of 417 PageID #: 2193
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 353 of 417 PageID #: 2194
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 354 of 417 PageID #: 2195
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 355 of 417 PageID #: 2196
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 356 of 417 PageID #: 2197
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 357 of 417 PageID #: 2198
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 358 of 417 PageID #: 2199
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 359 of 417 PageID #: 2200
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 360 of 417 PageID #: 2201
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 361 of 417 PageID #: 2202
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 362 of 417 PageID #: 2203
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 363 of 417 PageID #: 2204
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 364 of 417 PageID #: 2205
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 365 of 417 PageID #: 2206
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 366 of 417 PageID #: 2207
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 367 of 417 PageID #: 2208
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 368 of 417 PageID #: 2209
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 369 of 417 PageID #: 2210
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 370 of 417 PageID #: 2211
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 371 of 417 PageID #: 2212
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 372 of 417 PageID #: 2213
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 373 of 417 PageID #: 2214
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 374 of 417 PageID #: 2215
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 375 of 417 PageID #: 2216
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 376 of 417 PageID #: 2217
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 377 of 417 PageID #: 2218
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 378 of 417 PageID #: 2219
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 379 of 417 PageID #: 2220
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 380 of 417 PageID #: 2221
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 381 of 417 PageID #: 2222
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 382 of 417 PageID #: 2223
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 383 of 417 PageID #: 2224
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 384 of 417 PageID #: 2225
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 385 of 417 PageID #: 2226
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 386 of 417 PageID #: 2227
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 387 of 417 PageID #: 2228
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 388 of 417 PageID #: 2229
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 389 of 417 PageID #: 2230
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 390 of 417 PageID #: 2231
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 391 of 417 PageID #: 2232
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 392 of 417 PageID #: 2233
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 393 of 417 PageID #: 2234
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 394 of 417 PageID #: 2235
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 395 of 417 PageID #: 2236
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 396 of 417 PageID #: 2237
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 397 of 417 PageID #: 2238
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 398 of 417 PageID #: 2239
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 399 of 417 PageID #: 2240
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 400 of 417 PageID #: 2241
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 401 of 417 PageID #: 2242
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 402 of 417 PageID #: 2243
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 403 of 417 PageID #: 2244
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 404 of 417 PageID #: 2245
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 405 of 417 PageID #: 2246
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 406 of 417 PageID #: 2247
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 407 of 417 PageID #: 2248
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 408 of 417 PageID #: 2249
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 409 of 417 PageID #: 2250
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 410 of 417 PageID #: 2251
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 411 of 417 PageID #: 2252
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 412 of 417 PageID #: 2253
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 413 of 417 PageID #: 2254
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 414 of 417 PageID #: 2255
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 415 of 417 PageID #: 2256
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 416 of 417 PageID #: 2257
Case 1:22-cv-01466-MN Document 1-16 Filed 11/07/22 Page 417 of 417 PageID #: 2258
